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22-3042-cv L , 22-3050-cv CON
          ( )
        United States Court of Appeals
                                                                        (       )

                                      for the

                         Second Circuit
                           VIRGINIA L. GIUFFRE,
                                                               Plaintiff-Appellee,
                              – v. –
                 SHARON CHURCHER, JEFFREY EPSTEIN,
                                                                    Respondents,
                                 – v. –
                          GHISLAINE MAXWELL,
                                                                      Defendant,
                                  – v. –
                       JOHN DOE 107, JOHN DOE 171,
                                             Objectors-Appellants,
                              – v. –
           JULIE BROWN, MIAMI HERALD MEDIA COMPANY,
                                            Intervenors-Appellees.
                     ––––––––––––––––––––––––––––––
          ON APPEAL FROM THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF NEW YORK

                      REDACTED APPENDIX
              FOR OBJECTOR-APPELLANT JOHN DOE 171

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STATE OF NEW YORK              )                        AFFIDAVIT OF SERVICE
                               )           ss.:         BY OVERNIGHT EXPRESS
COUNTY OF NEW YORK             )                        MAIL

       I, Tyrone Heath, 2179 Washington Avenue, Apt. 19, Bronx, New York 10457,
being duly sworn, depose and say that deponent is not a party to the action, is over 18
years of age and resides at the address shown above or at

       On February 16, 2023

deponent served the within: CONFIDENTIAL APPENDIX FOR OBJECTOR-
                            APPELLANT JOHN DOE 171

       upon:

SIGRID S. MCCAWLEY
BOIES, SCHILLER & FLESNER LLP
Attorneys for Plaintiff-Appellee
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  Suite 1200
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the address(es) designated by said attorney(s) for that purpose by depositing 1 true
copy(ies) of same, enclosed in a postpaid properly addressed wrapper in a Post Office
Official Overnight Express Mail Depository, under the exclusive custody and care of the
United States Postal Service, within the State of New York.



Sworn to before me on February 16, 2023




    MARIANA BRAYLOVSKIY
 Notary Public State of New York
        No. 01BR6004935
  Qualified in Richmond County
Commission Expires March 30, 2026                    Job# 318861
